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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

                  Sydney Dillard

                     Plaintiff,
                                                                   Case No. 1:20-cv-7760
                         v.

                 DePaul University,                           Plaintiff Demands Trial by Jury

                    Defendants.

                                           COMPLAINT

       Plaintiff Sydney Dillard (“Dillard” or “Plaintiff”), by and through her attorneys, Gianna R.

Scatchell, Esq. and Cass Thomas Casper, Esq. of DISPARTI LAW GROUP, P.A., states and

alleges as follows for her Complaint against DePaul University (“DePaul” or “University”) and

alleges upon personal knowledge regarding himself and his own acts, and on belief, regarding all

other matters:

                                        INTRODUCTION

1. This is an action for race and disability discrimination pursuant to Title VII of the Civil Rights

    Act of 1964, 42 U.S.C. § 2000e, et seq., and Title VI of the Civil Rights Act of 1964, 42

    U.S.C. § 2000d, et seq.

2. Plaintiff sues to enforce her federal and state law rights arising out of the Defendants’

    unlawful race and disability discrimination. Plaintiff seeks all remedies including lost wages

    and benefits, compensatory damages, and reasonable attorneys’ fees and costs.

                                  JURISDICTION AND VENUE

3. This Court has jurisdiction over DePaul because it committed the acts and omissions that are

    the subject of this litigation in Cook County, Illinois, which is in this district. e
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4. This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28

   U.S.C. § 1367 because such claim is so related to the federal claims in this action that it forms

   part of the same case or controversy under Article III of the United States Constitution.

5. This Court has personal jurisdiction over DePaul because, at all times relevant, DePaul has

   been headquartered in this judicial district, maintains offices in this judicial district, and

   conducts its principal business and operations in this judicial district.

6. Venue is proper in this Court pursuant to 28 U.S.C. § 1391 in that DePaul’s principal place of

   business and operation is in this judicial district, DePaul engaged in the unlawful employment

   practices in this judicial district, and all of the events or omissions giving rise to the claims

   occurred in this judicial district.

                           ADMINISTRATIVE PREREQUISITES

7. Plaintiff filed a charge of Discrimination against Defendant with the EEOC (Charge No. 440-

   2019-06844). A true and accurate copy of Plaintiff’s Right to Sue letter is attached as Ex. 1.

8. Plaintiff commences this lawsuit within the 90-day period the EEOC right-to-sue notice.

                                            PARTIES

9. Plaintiff, Sydney Dillard (“Dillard” or “Plaintiff”) is an African American woman. She is a

   tenured Associate professor at DePaul University College, which is located in Chicago (Cook

   County), Illinois.

10. Defendant, DePaul University (“DePaul” or the “University”) is a not–for–profit corporation

   and is the largest Catholic university in the United States. DePaul’s principal place of business

   is in Chicago (Cook County), Illinois.

11. During her time at DePaul, Dillard was considered by her peers to be an accomplished and

   competent professional.



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                          FACTS RELEVANT TO ALL COUNTS

12. During her time at DePaul, Dillard was considered by her peers to be an accomplished and

   competent professional.

13. Plaintiff is the only African American female that is a tenured tracked faculty member in the

   College of Communication.

14. Plaintiff’s employment was subject to a six-year probationary period before she could obtain

   tenure status.

15. Prior to DePaul’s discriminatory conduct, Plaintiff performed her job duties satisfactorily. She

   was never written up and received positive feedback about her work.

16. While working for DePaul, Plaintiff was subjected to an ongoing hostile work environment

   in the following ways:

          a. Plaintiff was belittled, ostracized, and intimidated through microaggressions,

              causing her unnecessary stress and duress, which negatively affected her ability to

              work;

          b. Plaintiff was subjected to inequitable evaluations (e.g. non-African American

              professor received a review letter from personnel and Dean Salma Ghanem

              highlighting her perfect teaching scores and did not require her to complete an

              additional formal review), resulting in a more onerous workload;

          c. Plaintiff was singled out and subject to random, invasive office searches, personnel

              ignored her perfect teaching scores, causing her unnecessary stress and duress; and

          d. Plaintiff was singled out by having to teach in the modality (online v. face-to-face

              classes) where she had lower scores. Carolyn Bronstein, the Associate Dean in the




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                  College of Communication, informed Plaintiff that no other faculty member was

                  forced to teach one modality over another as a result of a personnel review.

    17. Plaintiff’s tenure-track evaluations were pervaded with irregularities and increased scrutiny,

       including, but not limited to at least five (5) formal reviews1 before she could be tenured and

       promoted, which resulted in Plaintiff expending significant time and stress to prepare,

       organize materials, prep written persona statements, updating files, and interview for each

       review.

    18. On belief, Plaintiff is the only faculty member in the College of Communication to face this

       many formal reviews.

    19. The average faculty member has approximately three 30 formal reviews before becoming

       tenured and promoted.

    20. In addition, while working for Defendant, Plaintiff was either prohibited or prevented from

       advancing to a tenured position, in one or more of the following ways:

              a. Non-African American employees similarly situated to Plaintiff were given one on

                  one assistance and coaching regarding their performance on the path to, obtaining

                  tenure, and Plaintiff was not.

              b. Non-African American employees were subjected to less stringent evaluations than

                  Plaintiff.

              c. Plaintiff was required to teach more face-to-face instruction than any other

                  employee in the College of Communication. This requirement prevented Plaintiff

                  from putting time into research, a category employee was judged upon in the tenure

                  process.


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 Plaintiff’s formal reviews occurred on or about November 9, 2013, March 23, 2015, March 3, 2017, March 9,
2018, November 16, 2018.

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          d. Plaintiff was admonished for low scores, while other non-African American

              employees with lower scores were not admonished.

          e. Plaintiff was prohibited from becoming chair of a search committee on one

              occasion, which would have demonstrated her level of service to a committee,

              criteria for tenure. Instead, Plaintiff was made to co-chair the committee with a non-

              qualified employee, who was internationally born and a male.

          f. Plaintiff was forced to be a co-chair of a search committee on another occasion,

              while another non-African American employee was not forced to be a co-chair but

              allowed to chair the committee alone.

          g. Plaintiff was singled out and reviewed on her use of DePaul’s “SharePoint” system,

              which was not a requirement for class instruction.

          h. DePaul’s EEO Office ignored Plaintiff’s complaints of discrimination, thereby

              forcing her to continue to work in a racially hostile work environment.

          i. In February 2019, DePaul failed to promote Plaintiff to Program Chair of the Public

              Relations and Advertising Program, despite the fact that she was qualified (she is a

              Ph.D. and had one year of leadership training) and was the only candidate for the

              position.

          j. While Plaintiff failed to obtain the vote of her colleagues, the Dean of the

              Communications College takes such votes as a recommendation meaning that the

              faculty vote is not a mandatory prerequisite for receiving the promotion.

21. Also, Plaintiff was paid lower that other non-African American Assistant Professors, with less

   experience.




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22. On or about November 2, 2018, Plaintiff put DePaul on notice that she was being paid less

   than her counterparts or other less-experienced professors and made an oral demand to be

   provided with retroactive pay.

23. On or about January 1, 2019, DePaul provided Plaintiff with a 2.9% raise without providing

   a reason for the proffered raise as is customary.

24. As a result of this pattern of discrimination DePaul, Plaintiff began suffering from debilitating

   medical conditions, including, but not limited to an aggravated seizure disorder, anxiety, and

   depression, all affecting her ability to work. Plaintiff had to take short term disability and seek

   medical accommodations because of the stress from the hostile work environment.

25. Similarly situated, non-African American employees were treated more favorably than

   Plaintiff, as they were not subjected to the conduct set forth herein.

26. As a result of DePaul’s actions Plaintiff suffered lost wages and benefits, delayed career

   advancement, emotional distress damages, and attorney’s fees.

         National Origin Discrimination/Harassment/Hostile Work Environment

27. While working for DePaul, Plaintiff was subjected to an ongoing hostile work environment

   in the following ways:

          a. Non-American born employees similarly situated to Plaintiff were given one on

              one assistance and coaching regarding their performance on the path to obtaining

              tenure, and Plaintiff was not.

          b. Non-American born employees were subjected to less stringent evaluations than

              Plaintiff, allowing them to obtain tenure sooner than Plaintiff.

          c. Plaintiff was required to teach more face-to-face instruction than any other

              American born employee in the College of Communication. This requirement



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               prevented Plaintiff from putting time into research, a category employee was

               judged upon in the tenure process, thereby contributing to the denial of her tenure.

           d. Plaintiff was admonished for low scores, while other non-American born

               employees with lower scores were not admonished.

           e. Plaintiff was prohibited from becoming chair of a search committee on one

               occasion, which would have demonstrated her level of service to a committee,

               criteria for tenure. Instead, Plaintiff was made to co-chair the committee with a non-

               qualified, non-American born employee.

           f. Plaintiff was singled out and reviewed on her use DePaul’s “SharePoint” system,

               which was not a requirement for class instruction.

           g. DePaul’s EEO Office ignored Plaintiff’s complaints of discrimination, thereby

               forcing her to continue to work in a hostile work environment and furthering the

               delay of her tenure appointment.

           h. In February 2019, DePaul failed to promote Plaintiff to Program Chair of the Public

               Relations and Advertising Program, despite the fact that she was the

                    Disability Discrimination and Failure to Accommodate

24. Plaintiff is qualified individual with a disability under the ADA.

25. Plaintiff has a seizure disorder, which causes her to lose consciousness and substantially limits

   her in her ability to walk, talk, think, communicate, concentrate, and work, when activated.

26. Plaintiff also has clinical anxiety and depression, which substantially limits her in her ability

   to sleep, see, think, communicate, concentrate, and work.

27. Prior to DePaul’s discriminatory conduct, Plaintiff performed her job duties satisfactorily. She

   was not written up or counseled regarding her performance.



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28. While working for DePaul, Plaintiff was discriminated against based on her disability in the

      following ways:

               a. DePaul delayed or failed to provide pertinent information to third parties regarding

                   Plaintiff’s application for short-term disability, which resulted in Plaintiff’s denial

                   of short-term disability.

               b. Other, non-African American colleagues on short-term disability were provided

                   with additional faculty support such as other professors taking over classes,

                   substituting that professor’s service responsibilities, food trains2 of colleagues

                   bringing him and his wife meals.

               c. Plaintiff, by contrast, was not provided any support and her colleague, Maria

                   DeMoya, offered to take over teaching Plaintiff’s classes, but was denied.

               d. DePaul encouraged Plaintiff to stop her tenure clock.

               e. DePaul unreasonably delayed the confirmation of Plaintiff’s teaching scheduled for

                   Fall 2018, Spring 2019, Winter 2019, causing Plaintiff a more onerous workload.

               f. DePaul failed to protect Plaintiff’s private medical information from other

                   employees.

               g. DePaul attempted to coerce Plaintiff into not teaching classes, an action that would

                   cause Plaintiff to lose wages.

               h. DePaul attempted to force Plaintiff to work beyond the limitations set forth by her

                   physician.




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    Colleagues who schedule and organize home-made meal giving for other people.

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29. During the weeks of September 24, 2018, October 1, 2018, October 8, 2018, and October 15,

   2018, Plaintiff experienced dizziness, light-headedness, blurred vision, double vision, and

   migraines while teaching her face-to-face classes.

30. Plaintiff put DePaul on notice after each of these flare-ups.

31. On or about November 11, 2018, Defendant denied Plaintiff’s request for accommodation

   despite knowing that Plaintiff had experienced seizures several times during her face-to-face

   classes.

32. On or about December 6, 2018, DePaul suggested that Plaintiff not teach winter intersession

   or summer courses, which is particularly harsh accommodation, since these two sessions are

   one of the only ways that a professor can get an increase in pay.

                                     Failure to Accommodate

33. Plaintiff is a qualified individual with a disability under the ADA.

34. Plaintiff has a seizure disorder, which causes her to lose consciousness and substantially limits

   her in her ability to walk, talk, think, communicate, concentrate, and work, when activated.

35. Plaintiff also has clinical anxiety and depression, which substantially limits her in her ability

   to sleep, see, think, communicate, concentrate, and work.

36. DePaul is aware of Plaintiff’s limitations through Plaintiff’s applications for short-term

   disability, her verbal accommodations requests, complaints to EEO, and accommodations

   requests by her physician, beginning March of 2018, through at least March 7, 2019.

37. On June 6, 2018, Plaintiff made a request for a reasonable accommodation for additional time

   to prepare for her classes, and to teach her classes online for each session, as opposed to face

   to face for the Fall and Winter quarters, of 2018. Plaintiff explained that teaching face to face

   classes exacerbated her medical condition.



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38. Plaintiff was not given additional time to prepare for her classes for the Fall and Winter 2019,

   which began September 2018 – November 2018.

39. Plaintiff was also required to teach face to face classes each session for the Fall and Winter

   2019, which began September 2018 – November 2018.

                                 Unauthorized HIPAA Disclosure

40. On or about February 21, 2019, Plaintiff was informed that her medical and leave history was

   discussed in reviewing her qualifications.

41. On or about April 2019, Plaintiff was informed in a teaching, learning, and technology meeting

   that the DePaul email outlook system is not secure and that some people, particularly

   supervisors, are able to access faculty email information.

42. Plaintiff requested that DePaul’s human resources’ director, Gianna Bellavia, only discuss her

   medical information via phone.

43. On several occasions, on various dates, various individuals with access to Plaintiff’s medical

   records ignored her requests for medical privacy and shared her medical information with other

   colleagues or over an unsecure email client.

                                      Denial of promotion

44. A Caucasian, male colleague told Plaintiff that Jim Motzer, a Caucasian male, would be a

   better candidate for the Program Chair position than Plaintiff, even though Motzer was not

   qualified for the position because he is not tenure or a tenure-track faculty member.

45. Without explanation, Dillard was not awarded the Program Chair despite that she was the well-

   qualified and the only candidate for the position.

46. On or about February 21, 2019, Plaintiff was further informed that there were no negative

   discussions about her qualifications for the position.



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47. However, during the vote for Plaintiff to be promoted, several faculty members informed

   Plaintiff that they did not consider her presentation, leadership plan, or the answers to the

   questions and answers part of the meeting.

48. Instead, many of the players involved in the promotion made direct statements in an around

   the hiring process expressing concerns over Plaintiff’s disability, including, discussing recent

   medical history, disability, and maternity leave.

49. Other faculty member confirmed that her disability and maternity leave were cited as the

   reasons why she was not promoted to Program Chair.

                 DePaul’s Double Standard in Tenure-Selecting Procedures

50. On or about November 13, 2020, Plaintiff attended the tenure-faculty meeting to vote on the

   promotion of Kendra Knight (“Knight”), a Caucasian woman.

51. Inexplicably, DePaul conducted four (4) separate votes until the votes were unanimously in

   favor of Knight receiving a promotion because the faculty members involved did not want

   Knight to “think that she has enemies” and “there was no negative discussion about her

   qualifications.”

52. This unprecedented 4-time voting process violated DePaul’s Faculty Handbook, § 3.5.2 which

   states in summary below, and more fully as Exhibit 2:

    Likewise, no faculty member is permitted to add his or her vote or change his or her vote
    after votes have been tallied.

53. On or about November 15, 2020, DePaul’s Personnel Committee asks for faculty input

   regarding the meeting surrounding Knight’s promotion. This personnel document stated that

   during the meeting for Knight’s promotion, there were only two votes that occurred because

   one of the votes suffered from a technical glitch.




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54. On or about December 15, 2020, Paul Booth, the chair of DePaul’s Personnel Committee

   requested that Plaintiff submit a signed statement attesting to the accuracy of the form

   regarding Knight’s promotion.

55. Plaintiff refused to sign Knight’s personnel document because it was inaccurate. Plaintiff

   further noted on the form that there were four separate votes instead of two and that Plaintiff

   did not feel comfortable signing a statement that the document was accurate.

             DePaul’s Pattern and Practice of Racially Discriminatory Conduct.

56. In 2012, when Plaintiff began teaching at DePaul, there was only one (1) tenured minority

   professor and four (4) minority professors that were tenured track.

57. Plaintiff is the last of the minority professors left at the College of Communications,

   specifically, two of the four minority professors were denied tenure and promotion, one of the

   minority professors was harassed and discriminated against and left DePaul.

58. On or about November 2, 2018, Nur Urysal, an assistant professor tried to disqualify another

   candidate for having a foreign accent.

59. On or about September 2019, and on belief, Latrina West-Shields, left her position at DePaul

   due to several complaints for racial discrimination.

60. Separate and apart from DePaul’s racially discriminatory acts against Dillard as specified

   herein, DePaul has engaged in a pattern of racially discriminatory conduct toward minority

   staff, which produced at least three separate lawsuits against it including, Terry Smith v.

   DePaul University, Sumi Cho v. DePaul University, 1:18-cv-08012, and Lisa Calvente v.

   DePaul University, 1:20-cv-03366.

COUNT I – Intentional Discrimination Based on Race in Violation of Title VII of the Civil
                    Rights Act of 1964, 42 U.S.C. § 2000e, et seq.


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61. Plaintiff restates, realleges, and incorporates by reference all other Paragraphs of this

   Complaint as if fully stated herein.

62. Title VII of the Civil Rights Act of 1964 provides that “[it] shall be an unlawful employment

   practice for an employer - (1) to fail or refuse to hire or to discharge any individual, or

   otherwise discriminate against any individual with respect to his compensation, terms,

   conditions, or privileges of employment, because of such individual’s race, color, religion, sex,

   or national origin. . .” 42 U.S.C. 2000e-2(a)(1).

63. At all times, Defendant DePaul was motivated by racially discriminatory animus in its

   aforesaid actions, to wit, it intentionally discriminated against Plaintiff based on her race

   (African American).

64. At all times, Plaintiff met the legitimate expectations of her position and performed her job

   satisfactorily.

65. At all times, Plaintiff was fully qualified and the only candidate for the Program Chair position

   for which she applied.

66. A similarly situated Caucasian individuals, were less qualified for the full-time tenure position

   for which Plaintiff.

67. Defendant DePaul at no time gave a reason for Plaintiff’s non-selection for the position or the

   increased scrutiny for tenure track.

68. Any reason that DePaul could give for Plaintiff’s non-selection or more scrutinized selection

   process is a pretext for race discrimination based upon at least (i) direct statements referencing

   diversity surrounding the Program Chair promotion and also of full-time tenure position hiring

   process; (ii) irregularities in the process utilized during the full-time tenure position hiring

   process; (iii) Plaintiff’s superior qualifications for both; and, (iv) rampant disparate treatment



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   of non-Caucasian faculty vis-a-vis Caucasian staff persons in the timeframe surrounding the

   hiring of the full-time tenure track position and Program Chair promotion.

69. At all times, the adverse actions taken by Defendant DePaul against Plaintiff was because of

   her membership in a protected group, to wit, that she identifies as African American.

70. The employment practices in which DePaul has engaged were intentional.

71. The employment practices in which DePaul has engaged were done with malice or reckless

   indifference to Plaintiff’s rights.

72. That, as a result of Defendant DePaul’ intentional race discrimination, Plaintiff has suffered

   damages, the failure to hire/promote her to the Program Chair position, increased

   requirements/scrutiny to be considered for the full-time tenure position, loss of salary and

   benefits (to include pay, retirement, insurance, and all other benefits and emoluments of

   employment), and substantial emotional distress in the form of anxiety, depression,

   embarrassment, reputational damage, and emotional pain and suffering.

       WHEREFORE, based on the foregoing, Plaintiff respectfully requests that this Honorable

Court enter Judgment in her favor, and against Defendant DePaul, and order Plaintiff made whole

for all losses as a result of Defendant’s unlawful discriminatory actions complained of herein, loss

of pay and benefits, lost bonuses and raises, compensatory damages, and reasonable attorneys’

fees and costs. Plaintiff additionally requests that this Court enter an order for such other relief as

it deems just and proper.

  COUNT II – Disability Discrimination in Violation of Title VI of the Civil Rights Act of
                            1964, 42 U.S.C. § 2000d, et seq.

73. Plaintiff restates, realleges, and incorporates by reference all other Paragraphs of this

   Complaint as if fully stated herein.

74. Plaintiff is a member of a protected and suspect classification: a person with a disability.

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75. As outlined in the preceding paragraphs, Plaintiff is a “qualified individual with a disability”

   within the meaning of 42 U.S.C.A. § 12111(8) because she can, with reasonable

   accommodation, perform the true essential functions of the job that she held and seeks to hold

   in the employ of the Defendant.

76. During Plaintiff’s employment, Defendant was on notice and at all times knew of Plaintiff’s

   ADA-recognized disabilities.

77. Specifically, the Defendant violated the ADA in at least the following ways: it failed to engage

   in the required interactive process; scrutinized her work performance more harshly than other

   employees without disabilities; degraded and humiliated her in front of her peers; subjected

   Plaintiff to a hostile work environment not imposed upon non-disabled persons; exacerbated

   Plaintiff’s anxiety; and caused Plaintiff emotional distress.

78. At all times, Defendant, developed a separate set of guidelines that were a pretext to subjecting

   Plaintiff to heightened scrutiny and denying her the promotion to Program Chair.

79. The discriminatory action of Defendant as set forth above, has caused and will continue to

   cause Plaintiff to suffer losses of earnings.

80. As a further proximate result of Defendant’s unlawful and intentional discriminatory practices

   engaged in by the Defendant in violation of the ADA, Plaintiff has suffered damages, the

   failure to hire/promote her to the Program Chair position, increased requirements/scrutiny to

   be considered for the full-time tenure position, loss of salary and benefits (to include pay,

   retirement, insurance, and all other benefits and emoluments of employment), and substantial

   emotional distress in the form of anxiety, depression, embarrassment, reputational damage,

   and emotional pain and suffering.




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WHEREFORE, based on the foregoing, Plaintiff respectfully requests that this Honorable Court

enter Judgment in her favor, and against Defendant DePaul, and order Plaintiff made whole for all

losses as a result of Defendant’s unlawful discriminatory actions complained of herein, loss of pay

and benefits, lost bonuses and raises, compensatory damages, and reasonable attorneys’ fees and

costs. Plaintiff additionally requests that this Court enter an order for such other relief as it deems

just and proper.

          COUNT III – Title VII of the Civil Rights Act of 1964—42 U.S.C. §2000e (sex
                                        discrimination)

81. Plaintiff restates, realleges, and incorporates by reference all other Paragraphs of this

   Complaint as if fully stated herein.

82. DePaul has engaged in unlawful employment practices by discriminating against Plaintiff with

   respect to her compensation on the basis of her sex.

83. Plaintiff occupies a job similar to at least two higher–paid male law professors with respect to

   the skill, effort, and responsibilities of her job.

84. The employment practices in which DePaul has engaged were intentional.

85. The employment practices in which DePaul has engaged were done with malice or reckless

   indifference to Professor Dillard’s rights.

86. The employment practices in which DePaul has engaged have caused Professor Dillard

   humiliation, distress, inconvenience, and loss of enjoyment of life.

                   COUNT IV – Federal Equal Pay Act – 29 U.S.C. § 206, et seq.

87. Plaintiff restates, realleges, and incorporates by reference all other Paragraphs of this

   Complaint as if fully stated herein.

88. DePaul has violated the Equal Pay Act by paying Plaintiff wages at a rate less than the rate at

   which it pays similarly-situated male professors.

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89. At all times relevant to this complaint, Plaintiff has performed work that is and was

   substantially similar to that of male professors at the Communications College considering the

   skills, effort, and responsibilities of the job. Similarly, Plaintiff has worked under conditions

   similar to male professors.

90. DePaul has paid Plaintiff at a lower rate than male professors.

91. As a result of the acts complained of above, DePaul has unlawfully withheld and is continuing

   to withhold the payment of wages due to Plaintiff.

                    COUNT V – Breach of Contract (DePaul Handbook)

92. Plaintiff restates, realleges, and incorporates by reference all other Paragraphs of this

   Complaint as if fully stated herein.

93. Through DePaul’s Handbook and other practices referenced therein, DePaul defined the

   procedures and criteria for tenure and promotion, and thereby created the terms and conditions

   of an employment contract between it and Plaintiff.

94. By accepting her appointment as a tenure track faculty member at DePaul, Plaintiff and DePaul

   agreed that her applications for tenure and promotion were to be governed by the Handbook’s

   tenure criteria and procedures.

95. The Handbook requires that a candidate for tenure and promotion be given fair consideration

   and evaluation in the areas of teaching, research, and service at all levels.

96. The Handbook further requires that tenure and promotion decisions not be based on racial

   discrimination or based on retaliation for complaining about racial discrimination.

97. The Handbook further requires that faculty cannot change their tenure vote recommendations.

98. In allowing four (4) separate votes for Knight’s promotion, allowed her




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99. In denying Plaintiff’s promotion for Program Chair and more rigorous tenure-track

   evaluations, among the other allegations of misconduct alleged herein, (i) willfully distorting

   her record with respect to her teaching and (ii) failing to provide clear and consistent guidance

   concerning expectations for service during formal reviews.

100.     Further, in denying Plaintiff’s promotion for Program Chair and more rigorous tenure-

   track evaluations, among the other allegations of misconduct alleged herein, DePaul failed to

   treat Plaintiff in the same manner as similarly situated persons who did not complain about

   racial harassment within the College, and failed to treat her in the same manner as similarly

   situated persons who were not of mixed race.

101.     DePaul’s denial of Plaintiff’s applications for tenure and promotion breached its contract

   with her.

102.     As a result of DePaul’s decision to deny Plaintiff’s applications for tenure and promotion,

   Plaintiff has suffered damages including lost wages and benefits.

                    COUNT VI – State Law Claim – Intrusion Upon Seclusion

103.     Plaintiff restates, realleges, and incorporates by reference all other Paragraphs of this

   Complaint as if fully stated herein.

104.     Plaintiff had a legitimate expectation of privacy to her personally identifiable information

   (“PII”) and was entitled to protection of this information against disclosure to unauthorized

   third parties.

105.     Defendants owed a duty to its faculty, including Plaintiff to keep her PII confidential

106.     Defendants failed to protect Plaintiff’s PII stored within its personnel files and databases

   and released it to unauthorized third parties and over unencrypted email.




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107.     By way of Defendant’s failure to protect the PII in its records, Defendant allowed or

   deliberately provided such information to and to examine Plaintiff’s PII.

108.     The unauthorized release to, custody of, and examination by of Plaintiff’s PII – especially

   where the information includes, Plaintiff’s medical records, full name, home address,

   biometric data, social security number, date of birth, cell phone number, height, weight, eye

   color, any combination of the data thereof is highly offensive to a reasonable person.

109.     While Plaintiff was compelled to disclose her PII to Defendants as part of his employment,

   Defendants were, at all times, supposed to keep her PII confidential and protected from

   unauthorized disclosure.

110.     By disclosing Plaintiff’s personal information, Defendant created, or substantially created

   an intrusion upon her constitutional right to privacy, safety, and security.

111.     Defendant acted with a knowing state of mind when they knowingly divulged Plaintiff’s

   PII to other unauthorized individuals and submitted over unencrypted networks and had actual

   knowledge of their inadequate information security practices

112.     As a direct and proximate cause of the Defendant’s acts and omissions, the Plaintiff’s PII

was disclosed to third parties without authorization and submitted over unsecure network

connections.

WHEREFORE, for the foregoing reasons, Plaintiff, Sydney Dillard requests that this Court enter

judgment in her favor and against Defendant in an amount to be proved at trial, including

compensatory, special, consequential damages, attorneys’ fees, and for all such other relief to

which she is entitled, and the Court deems just and proper

                               COMMON PRAYER FOR RELIEF

WHEREFORE, Plaintiff, Sydney Dillard, prays that the Court grant the following relief:



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   a) Conduct a mediated settlement conference or to refer the case to its court-annexed

       mediation program to assist the parties to bring about a settlement of this case;

   b) Award punitive damages in an amount sufficient to punish DePaul and to deter others from

       engaging in similar conduct;

   c) Award Plaintiff for her past and future loss of wages and benefits, plus interest;

   d) Award Plaintiff actual and compensatory damages to the extent permissible by law to

       compensate the Plaintiff for injuries and losses caused by Defendant DePaul’ conduct;

   e) Award Plaintiff prejudgment interest;

   f) Award Plaintiff reasonable attorneys’ fees and costs;

   g) All other relief as the interests of justice require.

                                         JURY DEMAND

Plaintiff hereby demands a jury trial on all issues so triable.

                                                       Respectfully submitted,

                                                       Sydney Dillard

                                                             /s/ Gianna R. Scatchell
                                                             /s/ Cass T. Casper
                                                       By:________________________________
                                                             Cass T. Casper, Esq.
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